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                                                                               United States District Court
                                                                                 Southern District of Texas
                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS                               ENTERED
                            HOUSTON DIVISION                                        May 02, 2023
                                                                                 Nathan Ochsner, Clerk




SELENE FINANCE LP                          §
                                           §
versus                                     §              Civil Action 4:22−cv−03781
                                           §
MM Mortgage Services, Inc.                 §


                                     Recusal Order
1.       I stand recused in this case.

2.       Deadlines in scheduling orders subsist. Court settings are vacated.


         Signed on May 2, 2023, at Houston, Texas.
